 

Case 3:06-cv-03389-JCS Document 9-6 Filed 06/30/06 Page 1of 8

 
Case 3:06-cv-03389-JGS Document 9-6 Filed 06/30/06 Page 20f8

ECCI
PAYROLL DEDUCTION AUTHORIZATION FORM

[authorized ECCI to deduct $__(_} from my paycheck for the following
reason:

Dependent medical/dental insurance premium.

— , ;
Employee Name Kicks. = Dew KG me Date_!- 31-04

 

Signature C7 *~ Jd (Le ~ Date 7-3! of

Dependent Contribution Monthly Rate

 

 

 

 

 

 

 

 

 

 

Tiers Monthly
Rates
Employee Only $0.00
Employee Plus 1 Dependent $340.40
, |
Employee Pius 2 or More Dependents $680.79 | a. .

   

 
Case 3:06-cv-03389-3CS Document 9-6 Filed 06/30/06 - Page 30f 8

TRADE SECRETS AND PATENT PROTECTION

I, é: Fa I Dn ham , in consideration of my employment by my Employer (which
shall mean ECC International (ECCI) and of the Salary or wages received by me during such
employment, hereby agree as follows:

1. Other than as required in my duties to my Employer, I shall not disclose to anyone or use
either during or after my employment, except with written consent of ECC
INTERNATIONAL, any trade secret, or confidential technical or business information of
ECC INTERNATIONAL. This same obligation shall apply to trade secrets of any third party
as learned by me during my employment and with respect to which my Employer has an
obligation to maintain secrecy. Technical and business information of any previous employer
or other third party which I may disclose to my Employer shall be limited to that which was
acquired legitimately and disclosed to me without restriction as to secrecy.

 

2; ~All inventions and discoveries made by me, solely ‘or Jointly with others, during my
employment and pertaining to the business or research activities of my Employer shall be the
property of my Employer.

3. I will promptly, without request, disclose to my Employer all such inventions and discoveries
—made by me.

4. Upon request of my Employer and at his expense, Tor my legal representative will apply for
Letters Patent in this and in foreign countries on such inventions and discoveries; will execute
all papers necessary thereto, including assignments of patent applications or patents; and will
lend assistance in the prosecution or defense of any proceedings in or relating to such patent
applications and patents. When such assistance is rendered after my employment, Employer
will pay me a reasonable sum (as determined by Employer) for my time and expenses.

5. Upon the termination of my employment, I or my legal representative will promptly deliver
to Employer all originals and copies of drawings, records, reports, notes, correspondence,
photographs, blueprints, maps, disks, or any other recorded, written or printed matter under
my control relating to any trade secret or confidential technical or business information of

Employer, and will return all property of Employer such as equipment, specimens, samples,
or models,

 

6. I understand that any viohtion of this Agreement may result in damages that are not

calculable, and that ECC INTERNATIONAL may pursue any remedy available to it under
the law.

I have read this Agreement carefully, understand and accept it. It is to be retroactive to date of my first

employment by Employer and is in addition to any rights of Employer under any previous. similar
agreements signed by me.

Date: _7 2 /- ay Signed: (opel A Kha he—
Witness: OQ _ Fy Zo
 

 

Case 3:06-cv-03389-3ES Document 9-6 Filed 06/30/06 “Pege 4 of 8

ECC INTERNATIONAL
EMERGENCY INFORMATION

In case of emergency, I hereby authorize a representative of ECC International to contact the
following individual(s) in my behalf:*

Primary Contact: Name: A L ak yd (be een he
Home phone: ULE YG
Work phone: Q. eta eof

Pager/mobile:

 

E-mail:
Relationship: Leics SL

 

 

 

 

 

Alternate: Name: L O04 a eér, hoo
Home phone: __ 3940 - 6 77- 9903
Work phone:
Pager/mobile:
E-mail:

 

Relationship: i,

Note: Please indicate which method of contact would be best to contact this individual

Employee Name: L- 4 S. Du nhan

 

 

(Please print) .
Signature: ee aD KL ae
Date: {~—3/-0 Jf

 

*Completion of this form is voluntary. It is intended only to help ECC International give you
assistance should it ever be necessary!
 

 

Case 3:06-cv-03389-JCS Document 9-6 Filed 06/30/06. Page 5 of 8

Statement of Understanding
Sexual Harassment Policy and Training

I have received a copy of ECC International's (ECCI) Sexual Harassment Policy, and
have read and understood the contents of the policy. I have also viewed the following

traming video(s) on the issue of Sexual Harassment, provided by ECC
INTERNATIONAL:

(Check applicable boxes)

i Sexual Harassment: The New Rules; Employee Awareness Training
Sexual Harassment: The New Rules; A Management Briefing
G Sexual Harassment: Handling the Complaint

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Employee Name (Print) Office J

(xk bbl, 0 2-3 0f

Employee Signature Date ‘

 
Case 3:06-cv-04@po-ICS Document 9-6 Filed os Mc Page 6 of 8

Form VW wd 2004 deductions, cenain credits, adjustenents to Form 140E5, Estimated Tax for individuats:
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Case 3:06-cv-03389-JCS Document 9-6 Filed 06/30/06 “Page 7 of 8

ENVIRONMENTAL CHEMICAL CORPORATION INTERNATIONAL
CONFIDENTIALITY AND ARBITRATION AGREEMENT

CONFIDENTIALITY

1, f by S ‘ Db un ho ih (Employee), understand and agree, that as a condition of employment, |
will not disclose ECC International related information, whether during employment or after its conclusion, to any
person or organization outside of ECC Intemational unless tequired by law or judicial order to do otherwise.

“ECC International Related Information,” as used in this Agreement, shall mean all documents delivered or

imparted by ECC International or any designs, plans, specification, processes, formulas, patents, and patent

applications, inventions, trade secrets, computer programs, sources and object codes and listings, report studies,
systems, methods, field data, notes, and any other information and data that Employee might obtain, produce,
develop, ot use as a result of employment with ECC International. ECC International Related Information Shall also
include, but not be limited to, that which is the property of ECC International and that which is obtained by ECC

International from others pursuant to an agreement of understanding by ECC International to keep or attempt to keep
it confidential.

At ECC International’s request or upon conclusion of Employee's work at ECC International, Employee will deliver
to the ECC Intemational Manager the originals and all copies of documents, papers, designs, memoranda, computer
passwords, base passes, vehicle registration forms, etc., including but not limited to ECC International Related
Information, obtained by Employee from or through ECC International or any other source associated with project
then in Employee's possession or under his/her control.

BUSINESS INFORMATION: Employee understands that certain information (including, but not limited to, with
respect to certain equipment, techniques, and other Matters, practices and items) which Employee may acquire in
connection with his/her employment with Employer is of a highly valuable, secret and confidential nature.

Accordingly, Employee agrees that, unless Employee has bee duly authorized by Employer, Employee shall not,
either directly or indirectly, reveal, furnish, or communicate to any third party, or otherwise enable or permit any
third party to obtain access to, any information relative to the site or the business affairs of ‘Employer. Employce
understands and agrees that the breach of any of the provisions of this agreement would result in losses which
cannot be reasonably or adequately compensated in damages in a action at law and would cause irreparable injury
and damages, Employee hereby expressly agrees that Employer shall be entitled to injunction and other equitable
relief to prevent such a breach by Employee. Resort to injunctive and other equitable relicf, however, shall not be
construed as a waiver of any other rights or remedies which Employer may have under this agreement, for damages
or otherwise, nor shall the prosecution of an action at law for damages or other legal relief be construed as a waiver
of any other rights or remedies which Employer may have in equity or otherwise under this agreement.

ARBITRATION

Employee understands and agrecs that any disputes arising out of or in conjunction with his employment that remain
unresolved following appropriate effort shall be resolved using arbitration in accordance with ECC International's
Arbitration policy.- Arbitration will be conducted in accordance with the rules of the American Arbitration
Association, and judgement on any award entered in any arbitration proceeding may be entered upon in any court of

competent jurisdiction. The sole and exclusive venue for any arbitration proceedings shall be San Mateo County,
California.

Employee Signature:

(ee oS Vern haw ZeBtDY
Name ;

Date

 

Company Signature:
PE G-/-0

Name Date
 

 

Case 3:06-cv-03389-JC§ Document 9-6 Filed 06/30/06. Page 8 of 8

ARBITRATION AGREEMENT

“i Fa S. Dua han , (EMPLOYEE) hereby agrees to follow the established grievance and
appeal procedures as set forth by ECC International Should EMPLOYEE exhaust the remedies provided by the
grievance procedures of ECC International, EMPLOYEE and ECC International agree and understand that any
controversy or claim arising out of or relating to EMPLOYEE’s employment shall be settled by arbitration
administered by the American Arbitration Association (AAA) in accordancc.with its rules and judgement upon the
award rendered by the arbitrator may be entered in any court having jurisdiction thereof. Arbitration shall cover any
and all disputes incidental to employment, including but not limited to potential claims arising from the at-will
employment relationship, tort, discrimination and benefit claims, and claims for violation of any law, statute or
ordinance. EMPLOYEE understands and agrees that the Arbitration process shall also be the sole and exclusive
remedy for any claims against any agents or representatives of ECC International, including managers, officers,
directors, pension or benefit plans, administrators or fiduciaries, or any affiliated company, to the extent that the
claim arises out of their actions on behalf of ECC International.

REQUEST FOR ARBITRATION

Request for arbitration may be made to the American Arbitration Association either by EMPLOYEE or
EMPLOYEE’ representative in accordance with the rules provided by AAA.

CONDITIONS PRECEDENT TO ARBITRATION

Ifa dispute ariscs out of or relating to EMPLOYEE’s employment, EMPLOYEE agrees to follow the procedures for
Grievances outlined by ECC International policy. If EMPLOYEE exhausts all remedies available under the
GRIEVANCE procedure and still has a dispute, the parties agree that senior management will try in good faith to
settle the dispute within thirty days thereafter before resorting to arbitration.

ARBITRATOR SELECTION

The arbitration shall be before one neutral arbitrator to be selected in accordance with the Commercial Rules of the
AAA and shall proceed under the expedited Procedures of said rules.

In the event any parties claim exceeds $1,000,000, exclusive of interest and attorney’s fees, the dispute shall be
heard and determined by three arbitrators.

LOCALE PROVISIONS

The arbitration proceedings shall be conducted in the County of San Mateo, California. In rendering the award, the

arbitrator shall determine the rights and obligations of the parties according to the substantive and procedural laws of
California. The judgement from the award may be entered in any court of competent jurisdiction.

EMPLOYEE further understands that no part of this Agreement, taken in part or in whole is intended to alter the

terms of the At-Will employment relationship.

EMPLOYEE . FOR ECC INTERNATIONAL

ota So dun bom —_— —

 

 

Date 7-3/ ~ ai Date

 
